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                   Certificate of Good Standing
                                   United States District Court
                                      District of Colorado

                  I, Jeffrey P. Colwell, Clerk of the United States District Court
                                     DO HEREBY CERTIFY


                                   Alec Paul Harris

                                   Admission date: 05/18/2018

                              was admitted to practice in this court
                                    and is in good standing.




                        Dated: August 3, 2022
